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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO *5" ‘ f" *~ 9

WESTERN DIVISION AT DAYTON

PETER K. NEWMAN
594 Garden Road
Dayton, OH 45419

Plaintiff,

UNIVERSITY OF I)AYTON
Acme Agent, Inc.

41 S. High Street, Suite 2800
Columbus, OH 45469,

KAREN T. DUNLEVEY
Jackson Lewis P.C.

PNC Center, 26th Flonr
201 E. Fifth Street
Cincinnati, Ohin 45202

and
JACKSON LEWIS P.C.
PNC Center, 26th Floor
201 E. Fifth Street
Cincinnati, Ohio 45202,

Defendants.

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" ‘ 1 ir"‘;‘; Q.:
\.,

Case No:

C()MPLAINT
AN]) JURY DEMAND

Plaintiff, Peter Newman, for his Complaint against the University of Daytc)n (“UD” or

“University”), Karen T. Dunlevey, and Jackson LeWis P.C. (“Jackson Lewis’) alleges as follows:

THE PARTIES

1. UD is a private Roman Catholic university that Was founded in 1850 by the

Society Of Mary (Marianists). The University has about 8,000 undergraduate and 2,200

post-graduate students UD hired Defendants Dunlevey and Jackson LeWis, P.C. to defend it

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against two Ohio Civil Rights Commission (“OCRC”) discrimination charges which Plaintiff
filed against the University (Peter K. Newman v. University of Dayton, Charge No.
.DAY76(26265)02282017; 22A-201 7-01567€ alleging employment discrimination and Peter K.
Newman v. University of Dayton, Charge No. DAY76(26268)03012017; 22A-2()17-01512F
alleging denial of public accommodations). UD also hired Defendants Dunlevey and Jackson
Lewis to defend it and eleven individual defendants against a federal court lawsuit Plaintiff filed
(Peter Newman v. University of Dayton, et al, No. 3:]7-cv-00179 (S.D. Ohio)).l Plaintiff’s
complaint in this lawsuit alleged that UD and the individual defendants repeatedly retaliated
against him for engaging in protected activities, discriminated against him and harassed him
because of his sex, race, and age, denied him public accommodations, violated Title IX, and

committed Workplace torts.
2. Karen T. Dunlevey is a partner with Jackson Lewis, P.C..

3. Jackson Lewis P.C. is a national labor and employment law firm With offices in

both Dayton and Cincinnati, Ohio.
JURISDICTION AND VENUE

4. This Court has federal question and supplemental jurisdiction pursuant to 28
U.S.C. § 1331 and under 28 U.S.C. § 1367 because the state law claims are so closely related to
the federal law claims as to form the same case or controversy under Article III of the U.S.

Constitution.

5. Venue is proper under 28 U.S.C. §1391(b)(l )(2).

 

1 After the District Court granted Defendants’ Motion to Dismiss based on judicial estoppel, Plaintiff
appealed the District Court’s decision to the Sixth Circuit. (Peter Newman v. University ofDayton, et. al,
Sixth Circuit Case No. 17-4241). Plaintitf’s appeal is pending

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STATEMENT OF FACTS
6. Attached are copies of UD’s policies and procedures that are relevant to Plaintiff’s
claims:
Nondiscrirnination and Anti-harassment Policy
Mandatory Reporting Policy
How the University of Dayton Equity Cornplaint Process Worl<s
Equity Complaint Process in Detail

Frequently Asked Questions

F acts regarding the pattern and practice of retaliatory harassment that lead up to Plaintiff
filing his original two OCRC charges against UD.

 

7. Plaintiff worked as an Adjunct Professor at UD from 2014 to 2017. He taught
Corporate Compliance, Risk Managernent and Ethics at the School of Law, Advanced Business
Law for Accountants in UD’s MBA Program, and The Legal and Ethical Environment of

Business (“Business Law”) at the School of Business Administration (SBA).

8. On September 16, 2016, Plaintiff filed an internal discrimination and harassment
complaint against a female African American law student - Bridget Jackson - with lnterim Title

IX Coordinator Kimberly Bakota.

9. In retaliation for Plaintiff’s filing of his complaint against Jackson and for
complaining about lnterim Title IX Coordinator’s inadequate investigation of his complaint, UD,
through its employees, placed an unnecessary mutual contact order on him, did not renew his
teaching contract for the Spring, 2017 Semester, took down his UD Community Profile from
UD’s Porches email Website after it had been posted for a very short period of time, issued him

two disciplinary warnings that Were based on false accusations that Plaintiff had engaged in

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inappropriate behavior, and told him that the decision not to renew his teaching contract for the

Spring would not be reconsidered

10. ln retaliation for Plaintif`f’s asking UD to mediate his retaliation, discrimination,
and harassment claims, UD, through its employees, instructed Professor Brian LaDuca not to
move forward with developing a proposed new course with Plaintiff even though UD President
Eric Spina had requested LaDuca to work with Plaintiff on this course, informed Plaintiff that
there would not be a teaching position for him either during the Summer or Fall, told Plaintiff
that “Since your time at UD had come to an end” to remove his personal belongings from the
adjunct professor office and to turn in his keys, withdrew a previous offer to act as a positive
reference for Plaintiff if he decided to pursue teaching opportunities at other educational
institutions, kicked him out of the law library, and Law School Dean Strauss banned Plaintiff
from visiting the law building until after Jackson graduated and finished studying for the

Summer bar exam.

ll. In retaliation for Plaintiff’s filing an internal retaliation complaint with new Title
IX Coordinator Amy Zavadil and asking her to remove Dean Strauss’ unnecessary and
retaliatory ban, UD, though its employees, dismissed Plaintiff’s retaliation claim without
investigating it, refused to remove Dean Strauss’ ban, and treated Plaintiff` less favorably than
similarly situated former employees and former students by deactivating his UD gmail account
while permitting former employees and former students who had not engaged in protected

activities, like Plaintif`f, to keep their UD gmail accounts.

12. In retaliation for his OCRC filing discrimination chargesJ UD, through its
employees, denied Plaintiff’s request to be paid a $5,000 stipend which he had been promised for
working as a Research Fellow on a Forced Labor Project, did not approve paying Plaintiff a $50
stipend he had been promised for attending an adjunct faculty teaching workshop, and banned

Plaintiff from visiting its campus

13. ln addition to retaliating against Plaintiff, UD, through its employees
discriminated against Plaintiff based on his age by not renewing his teaching contract for the
Spring, 2017 Semester and then replacing him with a younger in-house counsel who had never

taught the business course before compared with Plaintiff who had taught this course ten times.

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14. UD, though its employees, unlawfully denied Plaintiff public accommodations in
violation of the Ohio Civil Rights Act when it kicked him out of the law library, banned him
from visiting the law building until after Jackson finished studying for the Summer bar exam,

and deactivated his UD gmail account

F acts regarding Defendants UD, Dunlevey, and Jackson Lewis’ pattern and practice of
retaliatory harassment in response to Plaintiff’s federal lawsuit.

 

15. On May 19, 2017, Plaintiff filed his federal lawsuit against UD and eleven
individual defendants

16. In retaliation for Plaintiff’s filing his lawsuit, UD, through its agents Defendant
Dunlevey and Jackson Lewis, aided and abetted in discriminating against Plaintiff by extending
the University’s campaign of retaliation against Plaintiff to the lawsuit

17. Defendants Dunlevey and Jackson Lewis crossed the line of “zealous advocacy”
when Ms. Dunlevey: (a) tried to tortiously interfere with Plaintiff’s agreement with the Chapter
13 Bankruptcy Trustee regarding Plaintiff’s approved bankruptcy plan; (b) falsely accused
Plaintiff of violating Rule ll of the F ederal Rules of Civil procedure; and (3) threatened

Plaintiff with criminal charges in order to improperly gain leverage in this civil suit.

Facts regarding Defendants UD, Dunlevey, and Jackson Lewis’ pattern and practice of
retaliatory harassment when Ms. Dunlevey extended the ban which Law Schooi Dean
Andrew Strauss had previously placed on Plaintiff.

 

18. On January 10, 2017, Dean Strauss banned Plaintiff from the University’s law
library and law building until Bridget Jackson, the law student against whom Plaintiff had filed a
Title IX discrimination and harassment complaint, graduated and finished studying for the

Summer Ohio bar exam.

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19. After these two conditions were met, Plaintiff emailed Dean Strauss asking him to

confirm that his ban was now lifted

20. ln her July 31, 2017 email response, Ms. Dunlevey extended the ban indefinitely

and extended it to cover all of the University’s campus

21. Ms. Dunlevey gave a conflicting explanation for the ban: “Students and
employees of the University have expresses concerns regarding inappropriate behavior from you.

For these reasons, you are no longer welcome on campus.”

Facts regarding Defendants UD, Dunlevey, and Jackson Lewis’ pattern and practice of
retaliatory harassment when Ms. Dunlevey lied to the Ohio Civil Rights Commissioners
during their February 1, 2018 hearing on Plaintiff’s request for reconsideration regarding
his employment discrimination charge

 

22. The OCRC Dayton Regional Office issued a no-probable»cause determination

regarding Plaintiff’s employment discrimination charge

23. Subsequently, Plaintiff filed a timely application for reconsideration regarding

the Dayton Regional Office’s determination

24. During the Commission’s Pebruary l, 2018 meeting, the Comrnissioners heard
oral arguments from Reconsideration Supervisor Vera Boggs, Plaintiff, and Defendant Dunlevey
on Plaintif`f’s application for reconsiderationl

25. During her oral argument, Ms. Dunlevey tried to reconcile the two conflicting
explanations J ay Janney, Chair of the Management and Marketing Department, had given to
Plaintiff for the decision not to renew his teaching contract. Janney had initially told Plaintiff that
the decision not to renew his contract was made because every since he became the Department

Chair, the Department has been moving towards using iri-house counsel to teach the Business

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Law classes But shortly thereafter, Janney changed his explanation telling Plaintiff that the real
reason for his decision was that Plaintiff had turned in his Summer, 2016 grades for his online
Business Law class in late. l\/ls. Dunlevey presented a third conflicting explanation: because
Plaintiff had submitted his Summer grades late due to his busy law practice, UD decided in

August, 2016, to stop using outside lawyers as adjunct professors

26. Following the oral argument there was a brief question and answer period In an
apparent attempt to find an excuse to deny Plaintiff’s application for reconsideration,
Commissioner William Patmon, lll asked Dunlevy if this new alleged policy about not using
outside lawyers as adjunct professors was directed just at Plaintiff or if it was implemented
university-wide ln response, Dunlevey lied when she said that that UD had implemented this
new policy university wide. ln response to this exchange, Plaintiff raised a disputed issue of fact
by pointing out that contrary to Dunlevey’s assertion, Mr. Janney had scheduled Tim Wood, an
outside lawyer, to teach two or three Business Law classes every semester since August, 2016`
Dunlevey’s assertion that she “did not know whether Tim Wood was an outside lawyer”, was
disingenuous because she went through a 2002 divorce proceeding in l\/lontgomery County
Domestic Relations Court (Case No. 2002 Dl\/l 00570) Where Tim Wood has been a judge for
many years In fact, in his current Court biography, Wood lists as one of his activities “Adjunct
Professor, University of Dayton.”

27. Despite this disputed issue of fact regarding Plaintiff’s application for reconsideration of
his employment discrimination charge, the Commissioners voted 4-1 to deny Plaintiff’s application for

reconsideration

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28. Following the Commission’s February 1, 2018 meeting, Plaintiff obtained copies of the
class schedules for the Business Law class (l\/lGT 201) he used to teach and confirmed what he had pointed
out during the oral argument since August, 2016, Jay Janney had scheduled Tim Wood - an outside lawyer
- to teach two or three MGT 201 classes every semester.

29. Plaintiff also investigated UD School of Law’s use of outside lawyers as adjunct professors
Plaintiff obtained a copy of the current UD School of Law Adjunct Faculty Directory which lists 64 names,
the majority of whom are outside lawyers He also obtained copies of the 2017 and 2018 Course Grids
which show the School of Law’s extensive use of outside lawyers as adjunct professors

30. ln addition, Plaintiff checked the firm biography of Gretchen M` Treherne, l\/ls. Dunlevey’s
co-counsel in defending UD against Plaintiff’s federal employment discrimination lawsuit Treherne’s
biography states that she “has been an adjunct professor at the University of Dayton School of Law,

teaching classes in appellate advocacy and commercial drafting.”

Facts regarding Defendants UI), Dunlevey, and Jackson Lewis’ pattern and practice of
retaliatory harassment when Ms. Dunlevey lied to the Ohio Civil Rights Commissioners
during their February 1, 2018 hearing on Plaintiff’s request for reconsideration regarding
his denial of public accommodations charge

 

31. The OCRC Dayton Regional Office issued a no-probable-cause determination
regarding Plaintiff’s denial of public accommodations charge.
32. Subsequently, Plaintiff filed a timely application for reconsideration regarding

the Dayton Regional Office’s determination

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33. During the Commission’s February 1, 2018 meeting, the Commissioners heard
oral arguments from Reconsideration Supervisor Vera Boggs, Plaintiff, and Defendant Dunlevey
on Plaintiff’s application for reconsideration

34. Following the oral argument there was a brief question and answer period
Commissioner William Patmon, lIl told l\/ls. Dunlevey that he was very concerned about any
university banning someone from its facilities unless it had a compelling reason for doing so.
Then, in an apparent attempt to find an excuse to deny Plaintii`f’s application for reconsideration,
Commissioner Patmon asked Dunlevy if UD’s bans on Plaintiff were based on a “safety
concern.” Dunlevey lied when she said “yes” ln response to this exchange, Plaintiff raised a
disputed issue of fact by pointing out that when Law School Dean Strauss banned him from the
law library and the law building and when General Counsel Reeker banned him from UD’s
campus neither Strauss nor Reeker raised any “safety concern.”

35. Despite this disputed issue of fact regarding UD’s new conflicting “safety
concern” explanation for the bans it placed on Plaintiff, the Commissioners voted 4-1 to deny

Plaintiff’s application for reconsideration

Fact regarding Plaintiff’s filing his three discrimination charges against Defendants UD,
Dunlevey and Jackson Lewis for engaging in a pattern and practice of retaliatory
harassment against him and his filing this Complaint

 

36. On March 9, 2018, Plaintiff filed OCRC discrimination charges against the three
Defendants alleging that they had engaged in a pattern and practice of retaliatory harassment

against him.

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37. Subsequently the OCRC forwarded Plaintiff’s three charges to the EEOC for
investigation

38. On April 27, 2018, the EEOC Cincinnati Area Office closed its files on Plaintiff’s
three charges and issued him three 90-day right to sue notices

39. Plaintiff filed the instant Complaint within the 930-day filing periods established

by the right to sue notices

FIRST CAUSE OF ACTION
Pattern or Practice of Retaliatory Harassment
(Against all of the Defendants)

40. Plaintiff realleges and incorporates all of the allegations in the Paragraphs 1-39 of

this Complaint as if fully rewritten herein

41. Discriminatory acts that are part of a pattern or practice of discrimination can be challenged as a
single act. lf the discriminatory pattern or practice continues into the filing period, all of the component acts
ofthe pattern or practice will be timely, and relief can be recovered for any of those acts EEOC
COMPLIANCE MANUAL, Section 2-IV TIMELINESS, C. When Can a Discriminatory Act Be

Challenged ‘?, Pattern-or-Practice Claims. littos:/'/www.eeoc.aov/poliovideos/threshold.html#Z-IV-C.

42. The EEOC’s position is that a pattern or practice of discrimination should be considered a
single unlawful employment practice, and not a series of discrete acts, each of which must be challenged
within the charge filing period Akin, Gump, Strauss, Hauer & Feld, LL.P, EEOC Pattern or Practice
Litigation, ABA National Conference on EEO Law, March 23-27, 2010 at 4.

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43. As explained in the EEOC’s Enforcement Guidelines on Retaliation and Related lssues
(https://www.eeoc.gov/laws./uidance/retailialion-uuidance.cfm#}gl”larassing`), at Section ll7 B, 3, Harassing
Conduct as Retaliation, sometimes retaliatory conduct is characterized as ‘retaliatory harassment.” The
threshold for establishing retaliatory harassment is different than for discriminatory hostile work
environment Retaliatory harassing conduct can be challenged under the standard announced in Burlington
Northern & Santa Fe Railway Co. v. White, 548 U.S. 53 (2006) ("the Burlington Northern standard"), even
if it is not severe or persuasive enough to alter the terms and conditions of employment lf the conduct
would be sufficiently material to deter protected activity in the given context, even if it were insufficiently

sever or persuasive to create a hostile work environment, there would be actionable retaliation

44. Discriminatory acts that are part of a pattern or practice of discrimination can be challenged
as a single act. lf the discriminatory pattern or practice continues into the filing period, all of the component

acts of the pattern or practice will be timely, and relief can be recovered for any of those acts

45. A covered entity is as liable for the actions of its agents as it would be for actions taken by
itself An agent is an individual or entity having the authority to act on behalf of, or at the direction of, the
covered entity. EEOC COMPLIANCE MANUAL, SECTION 2: THRESl-IOLD ISSUES_, 2-Ill COVERED

PARTIES, 2. Agents.

46. An entity that is an agent of a covered entity is liable for the discriminatory actions it takes

on behalf of the covered entity.
47. Applying the above guidelines to the facts of this case, Plaintiff can prove a

pattern-or-practice claim for retaliatory harassment against Defendants UD, Karen Dunlevey, and Jackson

Lewis.

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48. As discussed in the above Statement of Facts_ UD, through its employees and agents
including Karen Dunlevey and her law firin, Jackson Lewis, engaged in a pattern or practice of retaliatory

harassment against Plaintiff.

49. Plaintiff’s three discrimination charges against UD, Karen Dunlevey, and Jackson Lewis
alleging a pattern-or-practice of retaliation were timely filed because all of the retaliatory acts are part of the
same unlawful pattern or practice and at least three of the retaliatory acts fall within the 300-day filing

period

50. Because Ohio has a state fair employment practices agency (FEPA) - the Ohio Civil Rights
Commission (OCRC), Plaintiff had to file my charges against UD, Karen Dunlevey, and lackson Lewis
with the EEOC or the OCRC within 300 days of their Title VII violations Plaintiff filed my charges on
l\/larch 9, 2018. Looking back 300 days is May l l, 2017. Based on the above chronology, the following

retaliatory acts fell within this filing period (l\/lay ll, 2017 - l\/larch 9, 2018):

7/14/2017 Ms. Dunlevey’s misconduct in connection with her filing Defendants’ Motion to

Dismiss Plaintiff’s lawsuit.

7/31/2017 Ms. Dunlevey provided a conflicting explanation for Dean Strauss’ retaliatory ban and

extended the ban indefinitely to cover all of UD’s campus

2f1/2018 During the oral argument before the OCRC on Plaintiff’s two applications for
reconsideration regarding Plaintiff’s employment discrimination and denial of public
accommodations charges, l\/ls. Dunlevey told two lies to cover up UD’s retaliatory reasons
for not renewing Plaintiff’s teaching contract, ending his UD teaching career, and forever

banning him from it’s campus

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51. Because these three retaliatory acts committed by l\/ls. Dunlevey and Jackson Lewis - UD’s
agents - fall within the applicable filing period, Plaintiff’s charges alleging a pattern-or-practice of
retaliatory harassment are not time barred See Bena v. United States Postal Service, EEOC Appeal No.
01A33825 (l\/lay 19, 2004) (The Commission found that allegations which were part ofa claim of
harassment, were timely under National Railroad Passenger Corp. v, Morgan, 536 U.S. 101 (2002).
Accordingly. EEOC noted that a complaint alleging a hostile work environment will not be time barred if

all acts are part of the same unlawful practice and at least one of the acts falls within the filing period.).

52. Plaintiff suffered and continues to suffer materially adverse actions as a result of
Defendants’ pattern-or-practice of retaliatory harassment Plaintiff suffered work-related materially adverse
actions because UD did not renew his adjunct teaching contract for the Spring, 2017 semester, terminated
his teaching career at UD, and forever banned him from its campus

53. Plaintiff has also suffered materially adverse actions that are not work related l\/ls. Dunlevey
disparaged Plaintiff to others when she changed the reason for Dean Strauss’ retaliatory ban by falsely
telling others that students and employees of the University have expressed concerns regarding
inappropriate behavior from me. See EEOC Enforcement Guidance on Retaliation and Related lssues, Il.
ELEMENTS OF A RETALIATION CLAll\/l, B. Materially Adverse Action, 3, Actions That Are not
Work-Related, Additional Examples

54. l\/ls. Dunlevey also made false reports to a governmental authority when during oral
argument before the OCRC she told two lies to cover up UD’s retaliatory reasons for its adverse actions
As discussed above, l\/ls. Dunlevey lied when she said that in August, 2016, UD had adopted a
university-wide policy to stop hiring outside lawyers as adjunct professors She also lied when she told the

Commission that all of the bans which UD placed on me were based on safety concerns about Plaintiffl

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See EEOC Enforcement Guidance on Retaliation and Related lssues, ll. ELEl\/IENTS OF A
RETALIATION CLAIM, B. l\/Iaterially Adverse Action, 3, Actions That Are not Work-Related, Additional
Examples.

55. ln addition Plaintiff has suffered a materially adverse action because Respondent’s
pattern-or-practice of retaliation constitutes “retaliatory harassment” as defined by the EEOC Enforcement
Guidance on Retaliation and Related lssues. See ELEMENTS OF A RETALIATION CLAIM, B. l\/laterially

Adverse Action, 3. Harassing Conduct as Retaliation.

56. As a proximate result of Defendants’ retaliation, Plaintiff has suffered damages for which he

is entitled to all of the appropriate remedies available to him.

SECOND CAUSE OF ACTION
Aiding and Abetting Discrimination in Violation of the Ohio Civil Rights Act
(Against All of` the Defendants)

57. Plaintiff incorporates by reference Paragraphs 1-56 as if fully rewritten herein

58. Ohio Rev. Code Section 4112.02 provides in pertinent part, that:

It shall be an unlawful discriminatory practice:

>i¢ >l= >I<

(J) For any person to aid, abet, incite, or coerce the doing of any act declared by this
section to be an unlawful discriminatory practice

59. ln Genero v. Central Transport, Inc. (1999)_. 84 Ohio St.3d 293, 703 N.E. 2d 782 (Ohio

1999), the Ohio Supreme Could ruled that the plain language of Chapter 41 12, particularly the definition of

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“employer”, imposes individual liability for discriminatory conduct. Ohio Rev. Code Section 4112.01 (A)(2)

defines “employer” to include “any person acting directly or indirectly in the interest of the employer.”

60. Defendants Dunlevey and .lackson Lewis aided and abetted UD in engaging in a

pattern-or~practice of retaliatory harassment against Plaintiff

61. As a proximate result of the individual Defendants aiding and abetting retaliation
discrimination and the denial of public accommodations Plaintiff has suffered damages for which he is

entitled to all of the appropriate remedies available to him.

THIRD CAUSE OF ACTION
Breach of an implied contract

(Against Defendant UD)
62. Plaintiff incorporates by reference Paragraphs 1-61 as if fully rewritten herein
63. Ohio courts recognize implied contract as an exception to the employment-at-will doctrine.

Whether explicit or implicit contractual terms have altered an at-will-employment agreement depends upon
the history of the relations between the employer and employee, as well as the facts and circumstances
surrounding the employment relationship Wright v. Honda of Am. l\/lfg., lnc., 73 Ohio St. 3d 571, 574,
1995-Ohio-114, 653 N.E. 2d 381. The relevant facts and circumstances include "the character of the
employment, custom, the course of dealing between the parties company policy, or any other fact which
may illuminate the question * * *.” l\/lers v. Dispatch Printing Co., 19 Ohio St.3d 100, 483 N.E.2d 150
(1985), paragraph two of the syllabus See also Kelly v. Georgia-Pacilic Corp., 46 Ohio St.3d 134, 545

N.E.2d 1244 (1989), paragraph two of the syllabus

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64. The attached copies of UD’s Nondiscrimination and Anti-harassment Policy, l\/landatory
Reporting Policy, and Equity Complaint Process for Resolving Complaints of Harassment, Sexual

l\/lisconduct and other Forms of Harassment constitute an implied contract of employment

65. UD’s policies do not contain employment -at-will disclaimers that would preclude Plaintifl"s

use of these policies to demonstrate an implied contract of employment

66. Plaintiffcan establish all the elements for a breach of an implied contract of employment
claim because: (1) he had an implied contract of employment', (2) he performed his obligations under this

contract; (3) UD materially breached the contract; and (4) plaintiff has suffered damages

67. As a result of UD’s breach of Plaintiff’s implied contract of employment, Plaintiff has
suffered and continues to suffer damages for which he is entitled to all of the appropriate remedies available

to him.

FOURTH CAUSE OF ACTION
Misrepresentation and fraud
( Against Defendant UD)

68, Plaintiff incorporates by reference Paragraphs 1-67 as if fully rewritten herein

69. In its Nondiscrimination and Anti-harassment Policy, Mandatory Reporting Policy, and
Equity Complaint Process for Resolving Complaints of Harassment, Sexual Misconduct and other Forms of
Harassment, UD made representations to all of its employees including Plaintiff, that UD would protect

them against retaliation_, discrimination and harassmentl

70. UD’s “Commitment to Community”, which highlights three principles adopted from the
Catholic and l\/larianist vision of education shapes UD’s policies The three principles - “the dignity of

every person”, “the common good”, and “community is essential for learning” - provide the foundation of

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UD’s mission statement and aims as an educational institution The influence of these principles can be

found throughout the University’s policies behavioral expectations for students and academic curriculum.

71. UD’s representations were falsely made, with either knowledge of their falsity, or with

disregard as to whether they were true or false.

72. UD, through its employees has committed the tort of intentional misrepresentation under
Ohio law.

73. UD, though its employees has also committed the tort of fraud under Ohio law.

74. As a result of UD’s intentional misrepresentation and fraud, Plaintiff has and continues

to suffer damages for which he is entitled to all of the appropriate remedies available to him.

PRAYER FOR RELI_EF
WHEREFORE, Plaintiff demands judgment against UD, and its employees Karen

Dunlevey, and Jackson Lewis as follows:
(a) Order requiring UD to rehire Plaintiff to a tenured professor position teaching the
classes he has taught in the past and where he would be protected from future acts

of retaliation, discrimination and harassment

(b) Pay Plaintiff back pay for the six classes he would have taught but for Defendants’

retaliation, discrimination, and harassment

(c) Cover all of Plaintiff’s expenses to attend the Designing Your Life (DYL) teacher workshop

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at Stanford University and schedule Pl

aintiff to teach UD’s version of the DYL course
starting in the Fall, 2017 semester

(d)

For actual, special, and compensatory damag

es in an amount to be determined at trial
but in no event less than 8350,000.

f€)

For punitive damages in an amount suff`

icient to deter UD and its employees from engaging
in similar retaliatory, discriminatory, an

d harassing conduct in the future but in no event
less than 8700,000.

(f) Order UD to expunge Plaintiff s official personnel file and any and all other files kept on
Plaintiff related to the retaliatory, discriminatory and harassing actions the individual
Defendants took against Plaintiff

(s)

Order Karen Dunlevey and each

UD’s employees who
pattern-or- practice

of retaliatory
at constitutes unl
and Ohio law

participated in the
harassinth ag'z-linst Plaintiff to atte
awful retaliation discrimination and harassment under federal
and \-vhat preventive measures they need to take to avoid e

nd rome
on wh

dial training

ngaging' in such
illegal activity
(h) Order Kimberly Bakota, Christine Schramm, Carol_vn Phe
r to attend remedial tr
responsibilities are, what elements a Scl
school should determine whet

investigation

lps, Andrew Str
and Mary Ann Rccke timing regarding what
iool`s Title IX inve
her to take

'auss, rlmy Zavadil,
a Title lX coordinator’s

stigation should include how a
efore the
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(i) Pre~judg'ment interest and post-judgment interest
(j) Attorneys’ fees and eosts.

oper, equitable and

   

(l<) Such other and further relief as this Court may d€e)n ju§t,

appropriate / l

Dated: July 26, 2018

/ THE NEWMAN LAW GROUP LLC
594 Garden Road
Dayton, OH 45419
Ph: 937.475.6282
Email: newmanlavvgrot:pt”&.`lgmail.com

Attorney for PlaintiH`

   

JURY DEMAND

Plaintiff demands a trial by jury

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i-'\TTACH MENTS

 

UD’s Policies and Procedures Relevanl to Plaintiff’s Ciaims

lll)’s Nontiiscrimination and Anti-harassnlenl I’oiicy

I’urpose

't`he Marianist vision of community living embraced by the University of t)ayton is based on the conviction that
every person has innate dignity because ali people arc marie in the image and likeness of God. rl`his conviction is
rooted in the feller-ring verse: "`The dignity of the human person is rooted in [the person's] creation in the image
and likeness ofGod; it is fulfilled in tthe person's| vocation to divine beatit.ude. . . . 'l`he divine image is present in
every person. lt shines forth in the communion of persons. in the likeness ofthe unity of thc divine persons
among themselves.” (Catholic Catechism, 1700, 1701). r\ primary assertion of both our religious and civil traditions
is the invioiable dignity of each person iteeognition of and respect for the person are central to our life as a
(`]hristian and educational community and are What allow us to pursue our common mission while being many
diverse persons Thus. discrimination harassment or any other conduct that diminishes the worth ol_1 a person is
incompatible with our fundamental con'unitment as a Cathoiic university conducted in the i\flarianist tradition

and therefore is prohibited by the University

Scope

Facul'ty, stat`f, students visitors, non~einplo_vees, volunteers. contractors and consultants

L'I)"s i\landator_v Reporting Policy

Purpose

This document outlines the University‘s policy regarding mandated reporting ol`suspected discriminz-ition.
including harassment, based on membership in a protected class. 'l`his policy is in place to make the Uni\-’ersity
ct_)mnu_lnity aware of one’s mandatory duty to report possible discrimination and the process for doing so. Sexual

harassment which includes acts of sexual violence is a type of sex discrimination

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Scope
't`his policy applies to the entire University of i)ayt.on community including l`aculty, staff. students volunteers

and contractors

Definitions

(a) “Discriminatory ttarassment” is harassment based upon an individuals actual or perceived membership in a
protected class l~larassing conduct may take various l`orms, inciuding, nai'ne-cailing, graphic or written
statements (including the use of cell phones or the Internet). or other conduct that maybe physically

threatening harmfui, or humiliating

(b) "l§quity Compiiancc Oflieer" is the individual responsible for tracking and overseeing reports and complaints

oi` discrimimltion and harassment and also serves as the University*s Title IX Coordinator.

(c) "Protected class" means age. race, color, creed, religion, ancestry, national or ethnic origin, sex/gendcn
gender identity, sexual orientation. disability, genetic information military status veteran status familial status

or any other protected category under applicable local, state or federal Iaw, ordinance or regi,i]ation.

(d) "Responsible Empioyee" is any employee who meets at least one of the following criteria: (1) has the authorit_\-»'
to take action to redress sexual violence or other misconduct (z) has been given a duty of reporting incidents of
sexual violence or other misconduct to the Title IX Coordinator or designee; or (3) is an employee whom an
individual could reasonably believe has the above authority or duty.

=i< >l< >i¢
Polic_v
APPLICABLE lAWS
There are three federal laws that establish respt_)nsil.)ilities for employees of universities to report certain types of
crimes and incidents especially sexual misconduct-the Ciery Act, Title \»"Il, and Title IX. Each of these areas of
federal law has a different purpose, but generally the laws are intended to protect members of the University
eommunit_v. visitors and guests from criminal and discriminatory beha\nor. 't`he responsibilities established by

these laws give rise to the terms “`mandatory reporter" and "responsible employee."

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Y()llR DUTY

'l`o make it easier to know what you need to do, the University has adopted a policy that defines ALL EMPLOYEES
as mandatory reporters l£Xt]ltPT doctors counselors, and ordained members of the clergy acting in that capacity
As a mandaton reporter, if you become aware of possible discrimination including harassment1 you MUST
promptly inform the University within one (".1) business day by contacting the 'l`itle lX/-;o4 (`]oordinator and bundy
Compliance ()flicer or one the deputy coordinators listed in the table that follows Reporting is required
regardless of whether the discrimination involves students facult_v. stall', or visitors to the University. Fultilling
the duty to report does not entitle the reporter to receive a notice of outcome unless the reporter is the alleged

victim or respondent

REPORTING GUII)ELINES

lIow to ltcporl

You may report in person by cmail, by phone1 or electronicall_\_-' by using the Harassment and Discrimination
tncident Report Fortn found on the i\iondiscrimination Resource Cen'ter webpage located at:

go.udayton.edu/ nondiscrimination under the "Complaint, Reporting and r\ppeal li`orms“ tab. rl`his form is also
accessible using the i\iondiscrimination/Title lX link located in the l`ooter of every University webpage. :\»'Iandator_\-'
reporters must identify themselves when reporting an incident to the Title L\' Cloort'lina'tor. r\nonymous
reporting does not satisfy an empio_\,-'ee`s duty to report incidents under this policy.

What to Reporl

Responsible Ei'xlployee reporting ol" `ille IX (Sex/'Gender) based misconduct

:\s detined above, any employee with a duty to report incidents to the Title IX (`Joordinator is considered a
responsible employee As a result, mandatory reporters under this policy are “responsible employees" for
purposes of reporting Title IX (sex/gender) based misconduct thn reporting misconduct covered under Title
lX t including claims of sexual harassment and sexual violence as defined above, as well as sex/gender
discrimination or sexual orientation discrimination), responsible employees must provide full details of the
incident, if known including names of the victim(s), alleged perpetr:-itor(s), witnesses and any other relevant
facts, including the date, time and specific location of the incident ( if known). lt' an individual requests
confidentiality or requests that no further action be taken please share that information with the Title lX

Coordinator or Deputy Title IX Coordinator at the time you report the incident

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The only exception to the "responsible employee" reporting rcquiren'tent. is that initially. staff members who
work for the t,-’nir:er.s‘it_'y Cr)un.s'c[ing tlcntcr, rlea/th C'cnter. (Fem[)ns i-Winistijy or ll"r)nlen’.s' C'cntcr are not required to
provide any names or personally identifiable information to the Title lX (,Ioordinator unless the disclosing party
gives them permission to do so. If, alter the initial report is received, it is determined that more information is
needed the staff member will be contacted by the Title lX Coordinator. ‘r'our job is to cooperate fully with

campus officials providing any information/details requested

;\'landatory Reporting of all other l’rotected Class (N()N-Tille IX) misconduct
When reporting i\ion-Title IX related elaims, including all other protected classes as defined above, all mandatory
reporters may be able to initially withhold personally identifiable information (the name of the victim, the name
of the accused individuat and other identifying details about witnesses location etc.), in cases where the alleged
victim is hesitant to have a formal report made Your initial report should include the nature date, time and
general location of the incident Subsequentl_v, campus officials may need additional information from _vou. Your
job is to cooperate fully with campus officials providing any inl'orrnation/de'taiis requested

=i= =i< =¢=

l)ESlGNATED REP()RTIN‘G ()FFICES

r\ll Complaints and Complainls Against Visitors

.»'\my Zavadil. Title lX!;oa Coordimttor and liquity (,Iompliance ()fficer
University of Dayton

St. i\~'lary's Hall. Room 300

zoo College Park

Dayton, OH 45469-1641

937-229-3615

azavadili.u`)uda\ton.etlu

 

Conlplain'ls Against Studenls

Christine Schramm, Deputy Title IX Coordinator.

Associate \»~'ice President for Student Development t'd Dean of Students
University of Dayton

Gosiger Hall. Room 202

300 Collcgc Park

Dayton, (')l---l 45469-0965

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Complainls Against Facully

larolyn Phelps, Ph.D.. Deput_v rl`itle 11\' Coordinator.
Associate Provost for Faculty and i\dminisl,rative r\fl"airs
University of l)ayton
St. :\»'la.ry"s Hall` Room 212
300 (.Ioilege Park
Dayton. OH 45469#1634
937-229-2245
cphelpsi;_n>udayton.edu

l{esources
1. University of Dayton Nondiscrimination and Anti-I'iarz-issment Polic_v
2. University of Dayt.on Equity Complaint Process for Resolving Complaian of Harassment. Sexual

Misconduet and Ot.her I*`orms of Discrimination

UD’s Equily Complaint Process for Resoiving (Jomplainls of Harassment, Sexual Misconducl and

olller li`orms of Discriminalion

We value tile dignity of all.
That's why we're committed to ending unlawful

l)iscrimination.

The Marianist vision of community living embraced by the University of Dayton is based on the conviction that
every person has innate dignity because all people are made in the ii'nage and likeness oi'God. This conviction is
rooted in the following verse: "'l`he dignity of the human person is rooted in |t.he person’s| creation in the image
and likeness of God; it is fulfilled in [the person`s ] vocation to divine beatitude. . . . The divine image is present in
every person. lt shines forth in the communion of pcrsons. in the likeness of the unity of the divine persons

among tl'iemselves." (Cat/iolz`c.' (_Tcltc'c/le')n, 1?00, 1701).

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A primary assertion ol` both our religious and civil traditions is the ii'iviolabie dignity of each person Recognition
ofand respect for the person are central to our life as a Christian and educational community and are what allow
us to pursue our common mission while being many diverse persons 'l`hus, discrimination harassment1 or any
other conduct that diminishes the worth of a person is incompatible with our fundamental commitment as a

(Iathoiic university conducted in the li\='larianist tradition and therefore is prohibited by the Universit.y.

Notice of Nondiscrimination

\s a Marianist institution that values the dignity of all, the University adheres to all federal and state civil rights
laws banning discrimination in private institutions of higher edncation. The University of I)ayton does not
discrii'ninate on the basis of age, racc. color, creed. religion ancestry, national or ethnic origin sex/gender,
sexual orientation disability, genetic information miiitary status, veteran status. familial status or any other
protected category under applicable local. state or federal law1 ordinance or regulation including protections for
those opposing discrimination or participating in any complaint process on campus or within the I:Iqual
Employment Opportunity Commission Ohio Civil Rights Connnission or other human rights agencies in the
planning and administration of its admissions policies. educational 1')rograms. scholarships loans, and other
financial aid, athletic and other school~administered programs, services, and activities, or in employment
Sexual harassment which includes acts ofsexual violence, is a type of sex discrimination To help combat
reported acts of unlawful harassment or discrimination the Uni\-'ersity has developed a robust Equity Complaint

Process.

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‘ZS`ccn'on 504 ".s‘tnnd.s' for Sectz'on 504 oft/ic Hr/za/)ilitati()n /tct of 1973. 29 U.S.(.f. § 70/ et .s'eq.

Notice of revision to policy

ln accordance with U.S. Department of Educa tion guidelines the University of Dayton has made revisions to its
Title IX policy and procedures as found in the University`s Nondiscrin'iination and i'\nti-Harassment Policy, the
quuity Complaint Process for Resolving Complaints of I*Iarassment., Sexual i\'iisconduct and ()ther Fornis of

Discrimination, as well as the i\'tandator_\_-' Reporting Policy.

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The revisions include:

Notice that the University’s 'f`itle lX (.Toordini-itor also serves as the Equit_v Compliance
()fficer for the University.

indicates that participation in either the prc-complaint process or the informal
resolution process is completely voluntary and that the c(_)mpiainant will be informed of
his or her right to end either process at any time to access the formal grievance
process

Gives notice that both parties involved in the complaint process have an equal right to a
support person including a licensed attorney and clarifies that those individuals serve
as advisors, and are not permitted to speak during interviews hearings or other
proceedings

Makes explicit that upon request, accomm(_)dations can be made if the parties cannot be
in the same room with each other during a hearing or when a party needs a
modification to be able 'to participate in the process.

filarifies that if sexual harassment is found to have occurred the Title IX (`ioordinator
and/or Deputy Title L\’ Coordinator will ensure and document the implementation of
steps identified to prevent recurrence of the l'iarassment and remedy the

discriminatory effects on the complainant and others, as appropriate

For a complete copy of the policy or for more information click here or contact the Uiii\=ei"sit_y-"s Title iX

Coordinator at 937-229~3615 or by email at aviavadili;a.rud

 

a l'ton.edu.

   

REL;'\TED LINKS

How the University of I)aylon

Equity Complaint Process Works

'I`his guide describes how to navigate the equity complaint process lieel free to contact us with questions

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STAGE ()NE: CO;\‘SIDERING YOUR OPTI()NS

You feel as if you are being harassed or otherwise discriminated against by someone be :ause of your gender__
race religion or membership in some other protected class What do you do'? Sometimcs the best answer is to
talk to that person to try to work things out before they go too far. Sometimes simply asking someone to "stop“
is enough to get them to stop. For instance someone might not realize a certain term is offensive But talking is
not always a good idea. Some problems are so serious that you need the University’s help_ For instance you
cannot "‘talk ou't" a sexual assault, and no one would \»vant you to try. if you are not sure whether it would be a
good idea to try to resolve a situation on your own contact the Title IX/;oa Coordirnttor ed Equi'ty (',lompliance

Officer ("ECO") for advice ((f`!lick on the "(_]ONFI`."\C'I` US" link for specific contact information.)

STAGE TW(): ASKING THE UNIVERSITY FOR HELP

o You might want the University to take official action to remedy the situation l f you have seen or
been a victim of an incident of discrimimition you can file a complaint with the ECO asking the
University to remedy/fix the situation Doing so triggers the Equity Complaint Process.

o You might want to talk someone secure in the knowledge that they will not share your story with
University officials in other words you may not want the University to take action You may just
want to talk to someone lf so, you can contact Campus i\/linistry, the Counseling or l~lealth Center
(if you are a student), or the Employee Assistance Program (if you are an employce) and ask to
schedule a meeting with someone with whom you can speak confidentially.

o \"ou might y "ant to seek advice from a professor. supervisor. or another University employee you
trust. If that is your choice you need to know that almost all University employees are required to
report incidents of unlawful discrimination or harassment to the University So, if you talk about
an incident with an employee other than a eounselor, doctor, etc. that employee must share at
least some of what you said with the I\j(](). If you do not want your name used tell the employee
'I`he employee will still have to rcport, but unless the incident involves a danger that could
threaten others in the community, he or she will not have to share your name or other identifying
information Ofcourse, the tradeoff for choosing anonymity is if the Universil;_\_-' does not know

who you are it may not be possible for it to help you.

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STAGE THREE: THE UNIVERSI'I`Y RI‘]VIEWS THE C()MPL»\]NT

The University always acts on a complaint or report of discrimination But the type of action it takes depends on
the facts of each case When a coi'nplaint or report is made the ECO acts as a “gatekeeper.” liis or her first job is
to look at the facts to see if'._ assuming they are true, they might violate the University’s Nondiscrimination and

.=\nt.i-Harassment Policy. Not every wrongful act is sufficient to violate the poliey.

if the answer, is "no,” the process/investigation ends rl`he l£(f`.() will let you (the "complainant") and the accused
party (the "respondent"} know the outcome If the conduct may violate some other University policy or
otherwise merit some action he or she will pass your complaint on to the right officials if the answer is "yesi"

he or she will inform you and the respondent and determine what the next steps should be.

What the next steps are depends on the facts ofeach case Ii` the EC() thinks this complaint may be one that
could be resolved informally using something like a mediation and if both parties agree informal resolution is a

possibility

S'I`AGE FOUR: THE UNIVI§RSITY INVES'I.`IGATES THE COMPL'\INT

if informal resolution is not a possibility or does not work, the ECO will assign your case to a specially trained
investigatory team to investigate the facts rl`he team will interview you, the respondent1 and others with
information about what happened lt will also gather other materials (e.g., texts emails1 etc.) that may help show

what happened

Both parties have the option of participating as lunch or as little in the process as they choose but choosing not

to participate typically weakens that person's case.

"l‘he investigatory team will compile all of the evidence it has gathered into a report and will determine whether if

all of the evidence is viewed in a light most favorable to you there is probable cause to believe that the

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respondent might have violated the University"s l\londiscrimination and i\nti-Harassment Policy. ll' the answer is

“no,” the process will end and the HCO will inform you and the respondent of the outcome

STAGE FIVE: TI IE UNl\-"ERSITY RE-S()L\-"ES THE COL\'IPL.»'\I;\"T

If the answer is “yes," the next step depends on whether the respondent is a student employee or visitor.

o lf the respondent is a student the case file is sent to the Office of t".ommunity Standards and
fiivility for an i=\ccountability Hearing. The llearing Board will determine by a preponderance of
the evidence whether a violation has occurred and will notify you and the respondent of the
outcome See the Student Handbook for more information

o if the respondent is a University employee (faculty or staffl or a visitor to campus the
investigatory team keeps the case 'l`he investigatory team will determine by a preponderance of
the evidence whether a violation has occurred and make recon'in'leiulalions to the appropriate
University official as to how to remedy any violation Once the official has determined whether
and how to follow the recommendations the ECO will notify you and the respondent of the
outcome l\'either you nor the respondent will receive a copy of the investigatory report1 but you
will both be provided with the opportunity to view a notice of outcome that outlines the team`s
findings Yon will also be informed of any actions taken or recommended to resolve the
complaintq if any. that are directly related to you_ such as a recommendation that the respondent
not contact _vou. The respondent will also be informed of actions taken or recommended to
resolve the complaint and will be noti lied of referrals for disciplinary action and recommended disciplinary

action See the Etjuit_v Complaint Process for more information
STAGE SlX: THE APPE.-'\liS PR()CESS
Either party may appeal the findings of the Hearing Board or investigatory team. F indings of the Hearing Board
are appealable to the judicial Review (]ommittee (]Ii(jfl), and findings of the investigatory team are appealable to

the Complaint Review Committee (CRC).

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An appeal will be`granted only if:

o New evidence or information that did not exist at the time of the hearing or investigation that
could have a bearing on the decision is discovered or

a There was a clear error in the process

If an appeal is denied, both you and the respondent will be notified and the process/investigation will conclude
if an appeal is granted, both you and the respondent will l)e notified of the corrective action taken h_v the iteview
Committee. Once a final decision is made, you and the respondent will be notified No further appeal will be

avail al)le.
Statcment of Rights
(_I()Ml’LAINs NT'S l{lGH'l‘S

o To be treated with respect by University officials

o 'l`o an investigation and appropriate resolution of all complaints of discrimination and/or
harassment made in good faith to the appropriate University official(s).

o To receive written notification that the respondent has been officially notified of the allegation of
violating the University`s Nt)lidiscrimination and i\nti-Harassment l)olicy.

o To be notified of the substance of respondents response, if any1 to the allegations

0 To take ad #'antage oi`campus support resources (such as (`Ianlpus ailinistry, the University i--ieal th
and Counseling Centers for students, and Ernployee i-\ssistance Program services for employees).

0 To experience a safe living. edi.lcational and work environment

o To have a support person of his or her choosing including but not limited to. a licensed attorney,

during any meeting with investigators The support person cannot be someone who maybe called

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o as a witness. The role of the support person is to serve as an advisor. He/she may be present at
interviews, hearings and other proceedings but is not permitted to speak.

o ’l`o decline to participate in conflict resolution procedures as the means for resolving an allegation

o To receive amnesty for minor student misconduct (such as alcohol or drug violations) that is
ancillary to the incident

o 'l`o be free from retaliation for complaints made, or otherwise ]_)articipating in an investigation in
good l`aith.

0 'i`o have complaints heard in substantial accordance with these procedures

o To full participation in this process, whether the injured party is the actual party or the University
has brought the complaint

o To be informed in \»vriting of the outcome/resolution of the coi'nplaint, sanctions where
permissible and the rationale for the outcome \-\-'here permissil_)le.

o The ability to refer to law enforcement and have assistance

o For residential students the ability to request housing and living accommodations if appropriate

o A "no contact order." ifappropriate. A no contact order is an order from a University Official to
have no contact with a particular person or persons Contact is considered any verbal, written
electronic. non-verbal gesture third party messages, indirect loud talking in the vicii'lity of the
person and could include indirect actions that appear to the University to be intimidating 'i`he
University may add to the terms of no contact within the context of the reported incident that

preceded the order or concerns that have arisen during the investigation
RESP()NI)ENT'S RIGHTS

o To be treated with respect by University oflicials.

¢ To an investigation and appropriate resolution of all complaints of discrimination and/or
harassment made in good faith to the appropriate University oificial(s).

o To receive written notification il`officially accused ofviola'ti ng the Universit_v’s Nondiscrimination

and nmi-Harassment Policy.

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o 'i`o take advantage of campus support resources (such as Campus Ministr_\_-’, the University Health
and Counseling Centers for students. and Empioyee i\ssistance l’rogram services for employees).
o To experience a safe living, educational and work environment
o To have a support person of his or her choosing, including but not limited to, a licensed attorney,
during any meeting with investigators The support person cannot be someone who may be called
as a witness. The role of the support person is to serve as an advisor. lie/she may he present at
in terviews, hearings and other proceedings but is not permitted to speak.
o 'i`o decline to participate in conflict resolution procedures as the means for resolving an allegation
o To receive amnesty for minor student misconduct (such as alcohol or drug violations)
that is ancillary to the incidentl
¢ To be free from retaliation for complaints made or otherwise participating in an
investigation in good faith
o To have complaints heard in substantial accordance with these procedures
o To be informed of the outcome/resolution of the complaint and the rationale for the
outcome, in writing
o The ability to refer to law enforcement and to have assistance
0 For residential students the ability to request housing and living accommodations if
appropriate
o A "`no contact order,” if appropriate n no contact order is an order from a University
Official to have no contact with a particular person or persons Contact is considered
any verbal, written electronic, non“verbal gesture, third party messages, indirect loud
talking in the vicinity of the person and could include indirect actions that appear to
the University to be intimidating The University may add to the terms of no contact
within the context of the reported incident that preceded the order or concerns that

have arisen during the investigation
REL»\TED LINKS
¢ !\’ondiscrimination and :\nti-harassmcnt Policv l.pdf)

o University of Dayton Student i---iandbook

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o l\=iandatory Reporting Policy (.pdf)

Equity Complaint Proccss

l.)ownload a Pl)l1 version of the iiouitv (`!onmiaint Proccss (PDF) >>

1. introduction

2. Confidentiality

_3. Pre-Complaint Resolution Efi`orts and Information

4. Filing a Complaint and Mandatory Reporting

5. (`lomplaint intake

6. lnterim Remedies/Aetions

7. Formal and informal Complaint Resolution Procedures
7a Informal Complaint Resolution Procedurc

Y.b. l<`ormal Complaint Resoluliion Procedure
7.l).i. InvestigatoryTeam lStudentCases | i\ll OtherCases

7.l).ii. The Formal Investigation

 

?.b.iii. The Disposition/Resolution Studenttlases |i-'\liOtherC.ascs

7.b.iv. Thez\ppealProcess |StudentCases lnll()therCases

8. Records

i)_ Statement of Rightsl(f`l(_)mplainant`s Rights | Respondent`s Rights
io. Revision

n. Discretion

12. (lonclusion

13. History

Frequently Askcd Quesl'ions

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PR()TECTION AGA|NS'I‘ RETALIATIO;\"

* =z= >i<

33. l'm a University employee that filed a complaint using the Equily Complaint Process. I can't be punished

for bringing that complaint can l'?

Bringing a good faith complaint linder the Equity Complaint Proccss is considered protected aclivit_v. which
means you cannot be retaliated against for bringing that complaint 'i`hat means that no adverse action should
be taken against you for bringing the complaint I"or employees, such types of adverse action includc, but arc
not limited lo: dismissal from employment dcmolion: loss of salary or bcnc[ils: transfer or reassignment or
denial of promotion that otherwise would have been received For studenls. such types ofadvcrse action
include. but are not limited lo: being given a grade not based on class/lest performance: denial of access to a
course program, organization or housing; denial of support services or other assistance given to other
sludenls; or denial ofan a\ -'ard that otherwise \-vonld have been received If you believe you’ve been retaliated
against for bringing a good faith complaint please report that immediately to the llquity Compliance ()fiicer.
Nolc that an adverse action is retaliatory only if it is taken because you brought the complaint The University
maintains the right to take action against you for other legitimate reasons, even if you have made a complaint
I"or example, if you`re an employee your supervisor could give you a negative performance review if tllal’s
unrelated to the fact that you brought the complaint Ifyou’rc a student that means the University could
sanction you for violating the Codc of Conduct so long as that sanction is unrelated lo you bringing the good
faith complaint Note that using the liquin Complaint Process in bad faith. i.e., with deliberately false
allegations and malicious accusations of harassment is not considered protected activily. .-\lso realize that the
person you’vc accused may exercise the right to bring a claim against you if your complaint was ill bad faith or

malicious, and that wollch not be considered retaliation

34. f understand that as complainant witness or aligned party (someone who's a friend to one of the parties).

l'm protected against retaliation What does that mcan'.’

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The University does not tolerate retaliation - basically. adverse action - for bringing a complaint participating
ill all investigation or being aligned with a party. Sllhmitting a complaint participating in an investigation
(such as by being a witness). or simply being aligned with a party (that is. being friends or associatch with
either the complainant or respondent) are all considered protected activities which should not subject a
person to any type of negative action. ltetaliatioll itself is considered a violation of tlle University`s
Nondiscl'ilnination and Anti~Harassment Polic_v. tlowevcl', if you bring a complaint it does not relieve you
from the regular requirements of your job or being a student snell as performance evaluations or class

assignments

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